                  Case 9:16-bk-06499-FMD                Doc 74       Filed 03/14/17    Page 1 of 1
[Dogmaphv] [District Order Granting Motion to Appear Pro Hac Vice]




                                           ORDERED.
Dated: March 14, 2017




                                     UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                             FT. MYERS DIVISION
                                             www.flmb.uscourts.gov



In re:                                                                      Case No. 9:16−bk−06499−FMD
                                                                            Chapter 7
Chris E Carhart
aka Chris Earl Carhart




________Debtor*________/

                      ORDER GRANTING MOTION TO APPEAR PRO HAC VICE
                AND DIRECTING PAYMENT TO THE UNITED STATES DISTRICT COURT

   THIS CASE came on for consideration, without hearing, of the Motion to Appear Pro Hac Vice (Document #
71 ) ("Motion") of attorney John S Biallas for representation of Kexin Carhart . Accordingly, it is ORDERED:

   1. The Motion is Granted.

   2. Attorney John S Biallas is admitted to appear before this Court in this case and any related adversary
proceeding as counsel for Kexin Carhart subject to Local Rule 2090−1.

   3. Within fourteen days from the date of this order, attorney John S Biallas shall pay to the Clerk, of the
United States District Court for the Middle District of Florida, an Attorney Special Admission Fee in the amount
of $150.00 and upon payment of the fee, file a Notice of Compliance with the Clerk of the U.S. Bankruptcy Court.
Procedures for Attorney Special Admission are available on the U.S. District Court's website.

    4. Upon completion of the Court's electronic filing registration forms and requirements, the Clerk is directed to
issue attorney John S Biallas , a temporary login and password to the Court's electronic filing system (CM/ECF)
with filing privileges limited to this case and any related adversary proceedings. CM/ECF access request should
be directed to the ECF Helpdesk at ecfhhelp@flmb.uscourts.gov. PACER accounts required for viewing, must be
set up by the attorney through PACER at http://www.pacer.gov.

The Clerk's office is directed to serve a copy of this order on interested parties.

*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two individuals.
